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 8                              UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                 SAN FRANCISCO DIVISION

11   WHATSAPP INC., a Delaware corporation,    Case No. 3:19-cv-07123-JSC
     and FACEBOOK, INC., a Delaware
12   corporation,                              [PROPOSED] ORDER GRANTING
                                               MOTION OF DEFENDANTS NSO
13               Plaintiffs,                   GROUP TECHNOLOGIES LIMITED
                                               AND Q CYBER TECHNOLOGIES
14         v.                                  LIMITED FOR SANCTIONS AGAINST
                                               PLAINTIFFS WHATSAPP INC.,
15   NSO GROUP TECHNOLOGIES LIMITED            FACEBOOK, INC., AND THEIR
     and Q CYBER TECHNOLOGIES LIMITED,         COUNSEL
16

17               Defendants.

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     [PROPOSED] ORDER GRANTING                                    Case No. 3:19-cv-07123-JSC
     MOTION FOR SANCTIONS
      Case 4:19-cv-07123-PJH Document 28-2 Filed 03/09/20 Page 2 of 2




 1          The Court, having heard argument on the motion of Defendants NSO Group

 2   Technologies Limited and Q Cyber Technologies Limited (“NSO”) for sanctions against

 3   Plaintiffs and their counsel and having given full consideration of Defendants’ motion, all points

 4   and authorities filed in support of, and in opposition to, the motion, hereby finds Plaintiffs and

 5   their counsel acted in bad faith by informing the Court that NSO had been served under the

 6   Hague Convention.

 7          GOOD CAUSE THEREFOR APPEARING, IT IS HEREBY ORDERED:

 8          1.      Plaintiffs and their counsel Cooley LLP are jointly and severally liable to

 9                  Defendants for attorney’s fees incurred by Defendants in setting aside the default

10                  in the amount of $______________ pursuant to 28 U.S.C. § 1927 and the Court’s

11                  inherent authority.

12          2.      The Court imposes the following additional sanctions:

13                  __________________________________________________________________

14                  __________________________________________________________________

15                  __________________________________________________________________

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20          IT IS SO ORDERED.

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22   Dated: ________________, 2020            _____________________________________________
                                              THE HONORABLE JACQUELINE SCOTT CORLEY
23                                                 UNITED STATES MAGISTRATE JUDGE
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      [PROPOSED] ORDER GRANTING                       1                        Case No. 3:19-cv-07123-JSC
      MOTION FOR SANCTIONS
